Case 1:23-mj-00017-ZMF Document5 Filed 02/21/23 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

Vv. )
Richard Avirett Case No.

)

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to he arrested) Richard Avirett
who is accused of an offense or violation based on the following document filed with the court:

© Indictment 1 Superseding Indictment C1 Information O Superseding Information I Complaint

C Probation Violation Petition C1 Supervised Release Violation Petition O Violation Notice O Order of the Cour

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
40 U.S.C. § 5104(e)(2)(C)- Entering and Remaining in Certain Rooms in the Capitol Building,
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

Lvq Zia M. Faruqui
Gj 2023.01.19 14:52:47 -05'00'
Date: 01/19/2023
Issuing officer 's signature
City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

 

Return

This warrant was received on (date) © Z/ \0/Z023 , and the person was arrested on (date) 0Z/ | 3/20 Z 3

at (city and state) Cc LE VEL AN D j © A
Date: 02/13/2023 Mik ez Ba KL >
‘i Ayresting officer's signature

N\icHael BALDIAO | FBI S pea

Printed name and title A LEAT

  

 
